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1    HEATHER E. WILLIAMS, #122664
     Federal Defender
2    MATTHEW C. BOCKMON, #161566
     Assistant Federal Defender
3    Designated Counsel for Service
     801 I Street, 3rd Floor
4    Sacramento, CA 95814
     Telephone: (916) 498-5700
5
     Attorney for Defendant
6    DONOVAN TORRES
7
                              IN THE UNITED STATES DISTRICT COURT
8
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
9
10   UNITED STATES OF AMERICA,                     )   Case No. 14-cr-097 MCE
                                                   )
11                        Plaintiff,               )   STIPULATION AND [PROPOSED] ORDER
                                                   )   TO MODIFY PRE-TRIAL RELEASE
12         v.                                      )   CONDITIONS
                                                   )
13   DONOVAN TORRES,                               )   Judge: HON. CAROLYN K. DELANEY
                                                   )
14                        Defendant.               )
                                                   )
15
16          IT IS HEREBY STIPULATED AND AGREED between plaintiff, United States of
17   America, and defendant Donovan Torres, through their respective attorneys, that the release
18
     conditions imposed on Mr. Torres on April 9, 2014, may be modified as set forth below.
19
            Accordingly, the parties and Pre-Trial Services agree that the following conditions may
20
     be modified:
21
22            12. You shall not associate or have any contact with the co-defendants in this case
     unless in the presence of counsel or otherwise approved in advance by the pretrial services
23   officer.
24          Further, the parties and Pre-Trial Services agree that the following condition may be
25
     modified:
26
             You shall not associate or have any contact with the co-defendants in this case unless in
27   the presence of counsel or otherwise approved in advance by the pretrial services officer, with
     the exception of your brother, Johnny Torres, with whom you may reside but shall not discuss
28   the case.
      STIPULATION AND [PROPOSED] ORDER TO MODIFY       -1-                         US v. Torres, 14-cr-097 MCE
      PRE-TRIAL RELEASE CONDITIONS
        Case 2:14-cr-00097-DC Document 40 Filed 04/29/14 Page 2 of 3


1    All other conditions shall remain in force.
2    DATED: April 28, 2014                         HEATHER E. WILLIAMS
3                                                  Federal Defender

4
                                                   /s/ Matthew C. Bockmon
5                                                  MATTHEW C. BOCKMON
                                                   Assistant Federal Defender
6                                                  Attorney for DONOVAN TORRES
7
8    DATED: April 28, 2014                         BENJAMIN B. WAGNER
                                                   United States Attorney
9
10
                                                   /s/ Matthew C. Bockmon for
11                                                 CHRISTIAAN HIGHSMITH
                                                   Assistant U.S. Attorney
12                                                 Attorney for Plaintiff
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      STIPULATION AND [PROPOSED] ORDER TO MODIFY     -2-                        US v. Torres, 14-cr-097 MCE
      PRE-TRIAL RELEASE CONDITIONS
        Case 2:14-cr-00097-DC Document 40 Filed 04/29/14 Page 3 of 3


1                                                  ORDER
2           The release conditions previously imposed on Mr. Torres are modified as follows:
3             12. You shall not associate or have any contact with the co-defendants in this case
4    unless in the presence of counsel or otherwise approved in advance by the pretrial services
     officer.
5
            The following release condition is modified:
6
             You shall not associate or have any contact with the co-defendants in this case unless in
7    the presence of counsel or otherwise approved in advance by the pretrial services officer, with
     the exception of your brother, Johnny Torres, with whom you may reside but shall not discuss
8    the case.
9
     All other conditions shall remain in force.
10
     IT IS SO ORDERED.
11
     Dated: April 29, 2014
12
13                                                   _____________________________________
                                                     CAROLYN K. DELANEY
14                                                   UNITED STATES MAGISTRATE JUDGE

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      STIPULATION AND [PROPOSED] ORDER TO MODIFY     -3-                           US v. Torres, 14-cr-097 MCE
      PRE-TRIAL RELEASE CONDITIONS
